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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Amy Acquaviva                                                              CHAPTER 13
                                Debtor(s)

Toyota Lease Trust
                                Movant
                vs.                                                            NO. 19-15189 ELF

Amy Acquaviva
                                Debtor(s)

William C. Miller Esq.
                                Trustee                                       11 U.S.C. Section 362

              MOTION TO OBTAIN RELIEF FROM THE AUTOMATIC STAY

              TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

 Toyota Lease Trust ("Movant"), its successors and/or assigns filing this its Motion for Relief from the

 Automatic Stay ("Motion"), and in support thereof, would respectfully show:

         1.      On August 19, 2019, Debtor filed a voluntary petition under Chapter 13 of the

 Bankruptcy Code.

         2.      This Court has jurisdiction of the Motion by virtue of 11 U.S.C. Section 105.361 and 362

 and 28 U.S.C. Section 157 and 1334.

         3.      Movant is the owner and holder of a Motor Vehicle Closed-End Lease Agreement

 ("Agreement") signed by Debtor(s) for a lease of a 2018 Toyota Highlander, VIN: 5TDBZRFH7JS844678

 ("Vehicle"). A true and correct copy of the Agreement is attached hereto as Exhibit “A”.

         4.      Movant is the owner of the Vehicle, as is evidenced on the Certificate of Title for the

 Vehicle. A true and correct copy of the Certificate of Title is attached hereto as Exhibit “B”.

         5.      By virtue of the above, Movant is the holder of a secured claim against Debtor(s).

         6.      Debtor(s) is/are in default under the terms of the Agreement by failing to make payments

 when due.
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        7.       Debtor has now failed to make the monthly payment due under the Agreement/ Contract

in the amount of $685.69 for the month of November 2019 through February 2020 minus a suspense

balance of $289.40.

        8.       The total amount necessary to reinstate the Lease Agreement is $2,453.36.

        9.       Movant alleges that the automatic stay should be lifted for cause pursuant to 11 U.S.C.

Section 362(d)(1) in that Movant lacks adequate protection of its interest in the Vehicle as evidenced by

the following:

                 (a)     Debtor(s) default under the terms of the Agreement by failing to make
                         installment payments when due and owing thereunder:
                 (b)     The Vehicle and the value of the Vehicle is in a state of decline and continues to
                         decline



        10.      The Movant hereby requests a waiver of Bankruptcy Rule 4001(a)(3).

        11.      This motion and the averments contained therein do not constitute a waiver by the

Movant of its right to seek reimbursement of any amounts not included in this motion, including fees and

costs, due under the terms of the mortgage and applicable law.

        WHEREFORE, PREMISES CONSIDERED. Movant respectfully prays that, upon final hearing

of this Motion, (1) the automatic stay will be terminated as to Movant to permit Movant to seek its

statutory and other available remedies: (2) Movant be permitted to obtain possession of the Vehicle to the

exclusion of Debtor(s): (3) Movant be granted such other and further relief, at law or in equity as is just.


                                                        Respectfully submitted,


                                                        /s/ Rebecca A. Solarz, Esquire
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